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                                   UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF SOUTH CAROLINA

INRE:                                        )
                                             )         CASE NO: 19-•QY.~\}--\,- ~v.,)
Bryanta Jerron Robinson                      )
Shiquetta Leshon Robinson                    )
202 Weeping Cypress Drive                    )            CHAPTER13
Moncks Corner, SC 29461                      )
SSN xxx-xx-6883                              )
SSN xxx-xx-6849                              )
                       DEBTORS.              )


                NOTICE OF OPPORTUNITY TO OBJECT AND CONFIRMATION HEARING

       The debtor(s) in the above captioned case filed a chapter 13 plan on
attached.
                                                                               e -\Y - \ 9           .The plan is
      Your rie:hts may be affected by the plan. You should read the plan carefully and discuss it with your
attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may wish to consult
one.)

       Any objection to confirmation of the chapter 13 plan must be in writing, filed with the Court at 1100 Laurel
Street, Columbia, SC 29201-2423, and served on the chapter 13 trustee, the debtor(s), and any attorney for the
debtor(s) no later than 21 days after the service of the chapter 13 plan, as computed under Fed. R. Bankr. P. 9006(a).
Objections to confirmation may be overruled if filed late or the objecting party fails to appear and prosecute the
objection. Ifno objection is timely filed, the plan may be confirmed by the Court without further notice.

      If you file an objection, you or your attorney must attend the hearing scheduled by the court on confirmation of
the plan. Notice of the confirmation hearing is provided in section 9 of the Notice of Chapter 13 Bankruptcy Case.
However, the Court may set an earlier status hearing on any objection upon notice to the applicable parties.

       If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought
in the plan and may enter an order confirming the plan.
                                                      /
                                                  /    Respectfully


                                                 (
                                                  \    Robert . Meredith, Jr., DC ID #6152
                                                       Elizabeth: . Heilig, DC ID #10704
                                                              e      Debtor/Movant
                                                       Meredith Law Finn, LLC
                                                       4000 Faber Place Drive, Suite 120
                                                       North Charleston, SC 29405
                                                       843-529-9000
Date:       -   \1-\-\j'
                Case 19-04314-jw                          Doc 9     Filed 08/14/19 Entered 08/14/19 16:53:55                        Desc Main
Fill in this information to identif our case:                       Document      Page 2 of 13
Debtor 1               Bryanta Jerron Robinson                                                                         Check if this is a modified plan, and
                             First Name            Middle Name            Last Name                                    list below the sections of the plan that
                                                                                                                       have been changed.
 Debtor 2            Shiquetta Leshon Robinson
 (Spouse, if filing) First Name      Middle Name            Last Name
 United States Bankruptcy Court for the:         DISTRICT OF SOUTH CAROLINA                                            Pre-confirmation modification
                                                                                                                       Post-confirmation modification
 Case number:
 (If known)




District of South Carolina
Chapter 13 Plan                                                                                                                                              5/19

               Notices

To Debtor(s):              This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                           indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                           Federal Rules of Bankruptcy Procedure, this Court's local rules, and judicial rulings may not be confirm able.

                           In the following notice to creditors, you must check each box that applies

To Creditors:              Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                           You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                           an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                           requested in this document.

                           If you oppose the plan's treatment of your claim or any provision of this plan, you or your attorney must file a timely objection to
                           confirmation. To determine the deadline to object to this plan, you must consult the Notice of Bankruptcy Case or
                           applicable Notice/Motion served with this plan. The Bankruptcy Court may confirm this plan without further notice ifno
                           objection to confirmation is filed. See Bankruptcy Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure
                           3002, you must file a timely proof of claim in order to be paid under any plan. Confirmation of this plan does not bar a party in
                           interest from objecting to a claim.

                          The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the
                          plan includes each of the following items. If an item is checked as "Not Included" or if both boxes are checked, the provision
                          will be ineffective if set out later in the plan.

 1.1          A limit on the amount of a secured claim, set out in Section 3.2, which may result in               Included              D Not Included
              a partial payment or no pavment at all to the secured creditor
 1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                 Included              D Not Included
              set out in Section 3.4.
 1.3          Nonstandard provisions, set out in Part 8.                                                         Included               D Not Included
 1.4          Conduit Mortgage Payments: ongoing mortgage payments made by the trustee                           Included               D Not Included
              through plan, set out in Section 3.l(c) and in Part 8

               Plan Payments and Length of Plan

2.1       The debtor submits to the supervision and control of the trustee all or such portion offuture earnings or other future income as is necessary
for the execution of the plan.

Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
follows:


$2,645.00 per Month for ,1!! months
$3,125.00 per Month for 42 months

Insert additional lines if needed.

The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to
the plan. The stipulation is effective upon filing with the Court.


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                           Shiguetta Leshon Robinson

    Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.

   2.2           Regular payments to the trustee will be made from future income in the following manner:

                 Check all that apply:
                          The debtor will make payments pursuant to a payroll deduction order.
                 0        The debtor will make payments directly to the trustee.
                 0        Other (specify method of payment):


   2.3 Income tax refunds.
       Check one.
                     The debtor will retain any income tax refunds received during the plan term.

                               The debtor will treat income refunds as follows:


   2.4 Additional payments.
       Check one.
                     None. If"None" is checked, the rest of§ 2.4 need not be completed or reproduced.

   •WIN Treatment of Secured Claims
   To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
   and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, ifa
   claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended, shall be
   treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection of the
   automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account of any
   secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection of the
   automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole reason for its
   application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to these
   provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who has
   filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
   property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
   and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.

   3.1           Maintenance of payments and cure or waiver of default, if any.

                 Check all that apply. Only relevant sections need to be reproduced.

                  0           None. If"None" is checked, the rest of§ 3.1 need not be completed or reproduced.

                              3.l(b) The debtor is.in default and will maintain the current contractual installment payments on the secured claims listed below,
                              with any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage
                              payments will be disbursed by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in
                              the creditor's allowed claim or as otherwise ordered by the Court.

    Name of Creditor                Collateral                                              Estimated amount of        Interest rate on Monthly payment on
                                                                                            arrearage                  arrearage        arrearage
                                                                                                                       (if applicable)
    Cypress Grove                   202 Weeping Cypress Drive Moncks
    Homeowners                      Corner, SC 29461 Berkeley County
    Association,                    TMS# 210-08-01-131
    Inc.                            (HOA fees)                                                          $672.00                0.00%                               $56.00
                                                                                            Includes amounts                               (or more)
                                                                                            accrued through the
                                                                                            August 2019
                                                                                            payment

Insert additional claims as needed.

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                        Shiguetta Leshon Robinson



                           3.l(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in
                           accordance with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict
                           between this document and the Operating Order, the terms of the Operating Order control.

               D           3.l(d) The debtor proposes to engage in loss mitigation efforts with ___ according to the applicable guidelines or procedures
                           of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

                           Insert additional claims as needed
               D           3.l(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in
                           Section 1.3 of this plan is checked and a treatment is provided in Section 8.1.

                            Insert additional claims as needed

3.2           Request for valuation of security and modification of undersecured claims. Check one.

               D           None. If"None" is checked, the rest of§ 3.2 need not be completed or reproduced.
                           The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

                                     The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental
                           secured claim listed below, the debtor states that the value of the secured claim should be as set out in the column headed
                           Estimated amount ofsecured claim. For secured claims of governmental units, unless otherwise ordered by the Court after
                           motion or claims objection filed after the governmental unit files its proof of claim or after the time for filing one has expired, the
                           value of a secured claim listed in a proof of claim filed in accordance with the Bankruptcy Rules controls over any contrary
                           amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated
                           below.

                                     The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim
                           under Part 5. I of this plan. If the estimated amount of a creditor's secured claim is listed below as having no value, the creditor's
                           allowed claim will be treated in its entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the
                           Court, the amount of the creditor's total claim listed on the proof of claim controls over any contrary amounts listed in this
                           paragraph.

                                     Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by
                           section 1325(a)(5)(B)(i). Unless there is a non-filing co-debtor who continues to owe an obligation secured by the lien, any
                           secured creditor paid the allowed secured claim provided for by this plan shall release its liens at the earliest of the time required
                           by applicable state law, order of this Court, or thirty (30) days from the entry of the discharge.

 Name of               Estimated        Collateral                    Value of      Amount of claims       Estimated amount     Interest        Estimated
 creditor              amount of                                      collateral    senior to creditor's   of secured claim     rate            monthly
                       creditor's total                                             claim                                                       payment to
                       claim                                                                                                                    creditor
                                                                                                                                                (disbursed by
                                                                                                                                                the trustee)




                                                2010 Ford
                                                Expedition
                                                147,000
                                                miles
                                                VIN:
 GM                                             1FMJK1H50
 Financial             $13,395.00               AEB61498              $12,400.00                $0.00          $12,400.00          6.25%                $293.00
                                                                                                                                                (or more)

Insert additional claims as needed.

 3.3         Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.

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      Check one.
                          None. If"None" is checked, the rest of§ 3.3 need not be completed or reproduced.
                          The claims listed below are being paid in full without valuation or lien avoidance.

                           These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by
                           the trustee or directly by the debtor, as specified below. Unless there is a non-filing co-debtor who continues to owe an
                           obligation secured by the lien, any secured creditor paid the allowed secured claim provided for by this plan shall satisfy its liens
                           at the earliest of the time required by applicable state law, order of this Court, or upon completion of the payment of its allowed
                           secured claim in this case.

 Name of Creditor                    Collateral                                  Estimated amount of claim      Interest rate       Estimated monthly payment
                                                                                                                                    to creditor

                                     2012 Buick Enclave
 SC Federal Credit                   133,000 miles
 Union                               VIN: 5GAKRCED5CJ156742                                    $11,356.00              6.25%                                 $268.00
                                                                                                                                    (or more)

                                                                                                                                    Disbursed by:
                                                                                                                                       Trustee
                                                                                                                                    D Debtor
Insert additional claims as needed.

3.4           Lien avoidance.

Check one.
                          None. If"None" is checked, the rest of§ 3.4 need not be completed or reproduced.
                          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked

                          The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to
                          which the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or
                          security interest securing a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the
                          order confirming the plan. The amount of the judicial lien or security interest that is avoided will be treated as an unsecured
                          claim in Part 5.1 to the extent allowed. The amount, if any, of the judicial lien or security interest that is not avoided will be paid
                          in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy Rule 4003(d). lfmore than one lien is to be
                          avoided, provide the information separately for each lien.

                           Choose the appropriate form for lien avoidance

 Name of                  Estimated              Total of all  Applicable                Value of debtor's   Amount of lien not Amount of lien avoided
 creditor and             amount of              senior/unavoi Exemption and             interest in         avoided (to be paid
 description of           lien                   dable liens   Code Section              property            in 3.2 above)
 property
 securing lien
 Mariner
 Finance                                                                   $500.00
                                                                          SC Code                                                                     $3,070.00
 Household                                                                 Section                                                      (100% of the allowed
 Items                    $3,070.00                      $0.00       15-41-30(A)(3)             $500.00                 $0.00                             claim)
 Name of                  Estimated              Total of all  Applicable                Value of debtor's   Amount of lien not    Amount of lien avoided
 creditor and             amount of              senior/unavoi Exemption and             interest in         avoided (to be paid
 description of           lien                   dable liens   Code Section              property            in 3.2 above)
 property
 securing lien




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 Regional
 Finance of
 Moncks
 Corner                                                                    $500.00
                                                                          SC Code                                                                  $6,123.00
Household                                                                  Section                                                   (100% of the allowed
Items                     $6,123.00                  $0.00           15-41-30(A)(3)              $500.00                 $0.00                         claim)
Name of                   Estimated             Total of all  Applicable                 Value of debtor's   Amount of lien not Amount of lien avoided
creditor and              amount of             senior/unavoi Exemption and              interest in         avoided (to be paid
description of            lien                  dable liens   Code Section               property            in 3.2 above)
property
securing lien
Southern
Finance                                                                    $500.00
                                                                          SC Code                                                                   $758.00
 Household                                                                 Section                                                     (100% of the allowed
 Items                    $758.00                       $0.00        15-41-30(A)(3)             $500.00                $0.00                          claim)

                           Use this for avoidance of liens on co-owned property only.

 Name of               Total equity          Debtor's equity Applicable                Non-exempt equity Estimated lien         Amount of Amount of lien
 creditor and          (value of             (Total equity   Exemption and             (Debtor's equity                         lien not   avoided
 description           debtor's              multiplied by   Code Section              less exemption)                          avoided(to
 of property           property less         debtor's                                                                           be paid in
 securing lien         senior/unavoi         proportional                                                                       3.2 above)
                       dable liens)          interest in
                                             property)
 -NONE-


Insert additional claims as needed.

 3.5         Surrender of collateral.

     Check one.
                          None. If"None" is checked, the rest of§ 3.5 need not be completed or reproduced.
                          The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon
                          confirmation of this plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under§ 1301
                          be terminated in all respects. A copy of this plan must be served on all co-debtors. Any creditor who has filed a timely proof of
                          claim may file an amended proof of claim itemizing the deficiency resulting from the disposition of the collateral within a
                          reasonable time after the surrender of the property. Any such amended claim, if allowed, will be treated in Part 5.1 below.

 Name of Creditor                                                                        Co!)ateral
                                                                                         Savings: CO Federal Credit Union
                                                                                         Acct# 0000
                                                                                         balance $325.64
 CO Federal Credit Union                                                                 (secured credit card)
                                                                                         Savings: CO Federal Credit Union
                                                                                         Acct# 0000
                                                                                         balance $325.64
CO Federal Credit Union                                                                  (cross-collateralized loan)

Insert additional claims as needed.


              Treatment of Fees and Priority Claims

4.1      General
The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular
payments on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the

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Court. Trustee's fees and all allowed priority claims, including domestic support obligations other than those treated in§ 4.5, will be paid in full
without postpetition interest.

4.2          Trustee's fees

Trustee's fees are governed by statute and may change during the course of the case.

4.3          Attorney's fees.

             a.            The debtor and the debtor's attorney have agreed to an attorney's fee for the services identified in the Rule 2016(b) disclosure
                           statement filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be
                           disbursed by the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall
                           disburse a dollar amount consistent with the Judge's guidelines to the attorney from the initial disbursement. Thereafter, the
                           balance of the attorney's compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining
                           each month after payment of trustee fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In
                           instances where an attorney assumes representation in a pending pro se case and a plan is confirmed, a separate order may be
                           entered by the Court, without further notice, which allows for the payment of a portion of the attorney's fees in advance of
                           payments to creditors.

             b.            If, as an alternative to the above treatment, the debtor's attorney has received a retainer and cost advance and agreed to file fee
                           applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held
                           in trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has
                           received $_ _ and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_ _ or less.

4.4          Priority claims other than attorney's fees and those treated in § 4.5.



             The trustee shall pay all allowed pre-petition 11 U.S.C. § 507 priority claims, other than domestic support obligations treated below, on a
             pro rata basis. If funds are available, the trustee is authorized to pay any allowed priority claim without further amendment of the plan.

             Check box below if there is a Domestic Support Obligation.


                          Domestic Support Claims. 11 U.S.C. § 507(a)(l):

                           a.           Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (state name of
                                        DSO recipient), at the rate of$ N/A or more per month until the balance, without interest, is paid in full. Add
                                        additional creditors as needed.

                          b.            The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis
                                        directly to the creditor. Mr. Robinson is current in his child support obligations to Charleston County Family
                                        Court for Erica Coakley and will remain current in those payments.

                           c.           Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those
                                        obligations from property that is not property of the estate or with respect to the withholding of income that is property
                                        of the estate or property of the debtor for payment ofa domestic support obligation under a judicial or administrative
                                        order or a statute.

4.5          Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.

             Check one.
                     None. If"None" is checked, the rest of§ 4.5 need not be completed or reproduced.



i@•M Treatment ofNonpriority Unsecured Claims
5.1          Nonpriority unsecured claims not separately classified. Check one



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             Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
             available after pay111:ent of all other allowed claims.

      lil]      The debtor estimates payments of less than 100% of claims.
      0         The debtor proposes payment of 100% of claims.
      0         The debtor proposes payment of 100% of claims plus interest at the rate of%.




5.2          Maintenance of payments and cure of any default on non priority unsecured claims. Check one.

                          None. If"None" is checked, the rest of§ 5.2 need not be completed or reproduced.

5.3          Other separately classified nonpriority unsecured claims. Check one.

                          None. If"None" is checked, the rest of§ 5.3 need not be completed or reproduced.

•i/fi•M Executory Contracts and Unexpired Leases
6.1          The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
             contracts and unexpired leases are rejected. Check one.

              lil]        None. If"None" is checked, the rest of§ 6.1 need not be completed or reproduced.



ii/fifM Vesting of Property of the Estate
7.1        Property of the estate will vest in the debtor as stated below:
      Check the applicable box:

              Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall
              remain with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate.
              The debtor is responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the
              plan is intended to waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by
              the debtor.

      0       Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective
              only if the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.

•i/fif:M Nonstandard Plan Provisions
8.1          Check "None" or List Nonstandard Plan Provisions
             0      None. If"None" is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in
this form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box "Included" in§ 1.3.
 8.1 (a)The debtor reserves the right to seek loss mitigation or modification of the mortgage loan using the Loss
 Mitigation/Mortgage Modification Portal procedures described in Chambers Guidelines during the bankruptcy case, which
 may be effective upon subsequent approval by order of the Court.

 8.1 (b) Confirmation of this plan does not bar a party in interest from any actions discovered from the documentation, or lack
 thereof, in a proof of claim. The debtor specifically reserves any currently undiscovered or future claims, rights or cause of
 action the debtor may have, regarding any issues not specifically addressed or determined by the plan, against any creditor
 or other party in interest including, but not limited to, violations of applicable consumer protections codes and actions
 under 11 U.S.C. §§ 542,543,544, 547 and 548.

 8.1 (c) Confirmation of this plan may determine the character (secured, unsecured, or priority), amount, and timing of
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 distribution of a creditor's claim regardless of the proof of claim filed. If a creditor objects to a claim's treatment under the
 plan, the creditor must timely object to confirmation.

 8.1(d) DEBTOR CERTIFICATION

 In connection with this plan, the debtor hereby states that he/she/they carefully reviewed this plan and understand the
 following:                                ·

 (1) The obligations set forth in this plan, including the amount, method, and timing of payments made to the trustee and/or
 directly to creditors;

 (2) The consequences of any default under this plan including any direct payments to creditors required by the terms of this
 plan; and                   ·

 (3) That debtor may not agree to sell property, employ professionals, or incur debt (including modification of debt) during
 the term of the plan without the prior authorization of the Bankruptcy Court.

 8.1 (e) Mortgage payments to be disbursed by the Trustee ("Conduit"):
 Mortgage payments, including pre-petition arrears, will be paid and cured by the Trustee as follows:




   Home Point Financial Corp.                  House and lot located at    $1,512.49            $51.00           $6,506.76         $109.00
                                               202 Weeping Cypress Drive   Escrow for           Or more                            Or more
                                               Moncks Corner, SC 29461     taxes:
                                                                           x Yes
                                               TMS #210-08-01-131             No

                                                                           Escrow for
                                                                           insurance:
                                                                           x Yes
                                                                              No


                                                                           $                    $                $                 $
                                                                           Escrow for           Or more                            Or more
                                                                           taxes:
                                                                              Yes
                                                                              No

                                                                           Escrow for
                                                                           insurance:
                                                                              Yes
                                                                              No




 * Unless otherwise ordered by the court, the amounts listed on a compliant proof of claim or a Notice filed under FRBP
 3002(c) control over any contrary amounts above, and any Notice of Payment Change that might be filed to amend the
 ongoing monthly payment amount.

 ** The Gap will be calculated from the payment amounts reflected in the Official Form 410A Mortgage Proof of Claim

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 Debtor                Bryanta Jerron Robinson                                                            Case number
                       Shiguetta Leshon Robinson

 Attachment and any Notice of Payment Change that might be filed to amend the monthly payment amount, but should not be
 included in the prepetition arrears amount.

 All payments due to the Mortgage Creditor as described in any allowed Notice of Post-Petition Mortgage Fees, Expenses,
 and Charges under F.R.B.P. 3002.1 filed with the Court will be paid by the Trustee, on a pro rata basis, as funds are
 available.

 Once the Trustee has filed a Notice of Final Cure under F.R.B.P. 3002.1 (f), the Debtor shall be responsible for ongoing
 mortgage payments and any further post-petition fees and charges.


               Signatures:

9.1          Signatures of debtor


                                                                     --·~·•'
 X                                                                                       X




                           · , Jr. 6152
        Meredith Law irm, LLC
        4~0 Faber Plac Drive, Suite 120
        Notth-Cbfil~        , SC 29405
        843-529-9000 (p)
        843-529-9907 (f)
        Signature of Attorney for debtor DCID#

By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




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                                   UNITED STATE BANKRUPTCY COURT
                                     DISTRICT OF SOUTH CAROLINA

INRE:                                       )

Bryanta Jerron Robinson
                                            )
                                            )
                                                     CASE NO: 19-     eJl{~14-j L0
Shiquetta Leshon Robinson                   )
202 Weeping Cypress Drive                   )         CHAPTER13
Moncks Corner, SC 29461                     )
SSN xxx-xx-6883                             )
SSN xxx-xx-6849                             )
                       DEBTORS.             )



                                         CERTIFICATE OF SERVICE

          The above-signing parties certify that the foregoing Notice, Plan and Motions was served on all creditors
and parties in interest entitled to such notice on the above stated date. The specific list of names and addresses of
parties served with this plan is attached to the plan filed with the Court.

VIA US MAIL
(see attached list)

ELECTRONICALLY
James M. Wyman
Chapter 13 Trustee
PO Box 997
Mt. Pleasant, SC 29465-0997


Date:_9~-     l~5--l~9-
                                                     Shawnda Engram, P ~ o r
                                                     Robert R. Meredith, Jr., D.C. I.D. #06152
                                                     Elizabeth R. Heilig, D.C. I.D. #10704
                                                     Meredith Law Firm, LLC
                                                     Attorneys for Debtor
                                                     4000 Faber Place Drive, Suite 120
                                                     North Charleston, SC 29405
                                                     843-529-9000
                Case 19-04314-jw    Doc 9    Filed 08/14/19 Entered 08/14/19 16:53:55          Desc Main
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ACS Primary Care Physicians SE PC                                          Avant
                                       American Express
PO Box 740022                                                              Attn: Bankruptcy
                                       PO Box 981540
Cincinnati, OH 45274-0022                                                  Po Box 9183380
                                       El Paso, TX 79998
                                                                           Chicago, IL 60691




Bank of America                        Berkeley County Tax Collector       Broken to Better Urgent Care
PO Box 982238                          PO Box 6122                         735 Cherry Road
El Paso, TX 79998-2238                 Moncks Comer, SC 29461-6120         Rock Hill, SC 29732




Capital One
                                        CashNetUSA                         Cashwell
Attn: Bankruptcy
                                        175 W. Jackson Blvd., Ste. 1000    7620 Rivers Avenue Suite 365
Po Box30285
                                        Chicago, IL 60604                  North Charleston, SC 29406
Salt Lake City, UT 84130



                                        Charleston County Family Court     Citibank
CBCS
                                        100 Broad Street                   Attn: Recovery/Centralized Bankruptcy
PO Box 163279
                                        Suite 143                          Po Box 790034
Columbus, OH 43216-3279
                                        Charleston, SC 29401               St Louis, MO 63179



                                                                           Comenity Bank/Ashley Stewart
Cks Prime Investments                   CO Federal Credit Union
                                                                           Attn: Bankruptcy
505 Independence Pkwy St                117 Spring Street
                                                                           Po Box 182125
Chesapeake, VA 23320                    Charleston, SC 29403
                                                                           Columbus, OH 43218



Comenity Bank/Victoria Secret           Credence Resource Management
                                                                           Cypress Grove Homeowners Association, In
Attn: Bankruptcy                        17000 Dallas Parkway
                                                                           PO Box37109
Po Box 182125                           Suite 204
                                                                           Charlotte, NC 28237
Columbus, OH 43218                      Dallas, TX 75248



Dept of Ed /Navient                     Discover Financial
                                                                           East Cooper Regional Med Ctr
Attn: Claims Dept                       Attn: Bankruptcy Department
                                                                           PO Box 741267
Po Box 9635                             Po Box 15316
                                                                           Atlanta, GA 30374-1267
Wilkes Barr, PA 18773                   Wilmington, DE 19850



                                                                           First National Bank
Erica Coakley                           Financial Data Systems
                                                                           Attn: Bankruptcy
8479 N. Highway 17                      POBox688
                                                                           1620 Dodge St Mailstop 4440
Mc Clellanville, SC 29458               Wrightsville Beach, NC 28480
                                                                           Omaha, NE 68197



                                                                           Home Point Financial Corporation
GM Financial                            Health First
                                                                           Attn: Correspondence Dept
801 Cherry Street, Suite 3500           PO Box 740949
                                                                           11511 Luna Road; Suite 200
Fort Worth, TX 76102                    Atlanta, GA 30374
                                                                           Farmers Branch, TX 75234



I C System Inc                          LC. System, Inc.                   Internal Revenue Service
Attn: Bankruptcy                        444 Highway 96 East                Centralized Insolvency Operations
PoBox64378                              Po Box64378                        PO Box 7346
St Paul, MN 55164                       St. Paul, MN 55164                 PJJ.iladelphia, PA 19101-7346
               Case 19-04314-jw            Doc 9    Filed 08/14/19 Entered 08/14/19 16:53:55       Desc Main
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Kohls/Capital One
                                               Lending Club
Kohls Card Support/Bankruptcy                                                     Mariner Finance
                                               71 Stevenson Street
Po Box3120                                                                        8211 Town Center Drive
                                               Suite 300
Milwaukee, WI 53201                                                               Nottingham, MD 21236
                                               San Francisco, CA 94105



                                               Merrick Bank/CardWorks
Medicredit, Inc.                                                                  MUSCHealth
                                               Attn: Bankruptcy
PO Box 1629                                                                       1 Poston Road Suite 350
                                               Po Box 9201
Maryland Heights, MO 63043-0629                                                   Charleston, SC 29407
                                               Old Bethpage, NY 11804



                                               Nelnet                             Opportunity Financial, LLC
Nationwide Credit
                                               Attil: Bankruptcy Claims           Attn: Bankruptcy
PO Box 14581
                                               Po Box 82505                       130 East Randolph St. Ste 3400
Des Moines, IA 50306
                                               Lincoln, NE 68501                  Chicago, IL 60601




Regional Finance of Moncks Corner              Roper St. Francis Physicians       SC Department of Revenue
104 Bi-Lo Way Suite A2                         PO Box 650292                      PO Box 12265
Moncks Corner, SC 29461                        Dallas, TX 75265-0292              Columbia, SC 29211




                                                                                  South Carolina
SC Federal Credit Union                        SCA
                                                                                  Department of Social Services
PO Box 190012                                  POBox910
                                                                                  PO Box 1520             ,
North Charleston, SC 29419                     Edenton, NC 27932
                                                                                  Columbia, SC _29202



                                               Synchrony Bank                     Synchrony Bank/ JC Penneys
Southern Finance
                                               Attn: Bankruptcy                   Attn: Bankruptcy
209 Carolina Ave
                                               Po Box 965060                      Po Box 956060
Moncks Corner, SC 29461
                                               Orlando, FL 32896                  Orlando, FL 32896



Synchrony Bank/PayPal                          Synchrony Bank/Sams                Synchrony Bank/Walmart
Attn: Bankruptcy Dept                          Attn: Bankruptcy                   Attn: Bankruptcy
Po Box 965060                                  Po Box 965060                      Po Box 965060
Orlando, FL 32896                              Orlando, FL 32896                  Orlando, FL 32896



Systems & Services Technologies/Best Egg       US Attorney General                US Attorneys Office
Attn: Bankruptcy                               U.S. Department of Justice         1441 Main Street
4315 Pickett Road                              950 Pennsylvania Avenue, NW        Suite 500
Saint Joseph, MO 64503                         Washington, DC 20530-0001          Columbia, SC 29201




Webcollex dba CKS                              Windham Professionals
PO Box2856                                     PO Box 1048
Chesapeake, VA 23327                           Salem, NH 03079
